          Case 1:14-cr-00141-CRC Document 607 Filed 09/25/24 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             :
                                                     :
                                                     :
               v.                                    :      Crim. No.: 14-141 (CRC)
                                                     :
                                                     :
AHMED SALIM FARAJ ABU                                :
KHATALLAH,                                           :
                                                     :
                                                     :
                              Defendant.             :


 GOVERNMENT’S NOTICE OF VICTIMS’ INTENT TO EXERCISE THEIR RIGHTS
              UNDER THE CRIME VICTIMS’ RIGHT ACT

       The United States of America, by and through undersigned counsel, hereby submits this

Notice to the Court concerning victims who wish to exercise their right to be heard under the Crime

Victims’ Right Act, 18 U.S.C. § 3771 (“CVRA”). The government has confirmed that nine crime

victims will be in attendance on September 26, 2024, at Defendant Ahmed Abu Khatallah’s

sentencing hearing. Four of these crime victims have requested the opportunity to make a short

statement at the hearing – including the brother-in-law of Ambassador J. Christopher Stevens, the

two children of Information Management Officer Sean Smith, and the brother of GRS officer Glen

Doherty

       The CVRA provides that a “crime victim” has the “right to be reasonably heard at any

public proceeding in the district court involving . . . sentencing . . . .” 18 U.S.C. § 3771(a)(4).

“The term ‘crime victim’ means a person directly and proximately harmed as a result of the

commission of a Federal offense . . . .” 18 U.S.C. § 3771(e)(2)(A) (emphasis added). This right


                                                1
         Case 1:14-cr-00141-CRC Document 607 Filed 09/25/24 Page 2 of 4




extends to family members, legal guardians, and representatives of the crime victim in cases where

the crime victim is incapacitated or deceased. 18 U.S.C. § 3771(e)(2)(B).

       “The requirement that the victim be ‘directly and proximately harmed’ encompasses the

traditional ‘but for’ and proximate cause analyses.” United States v. Giraldo-Serna, 118 F. Supp.

3d 377, 383 (D.D.C. 2015); Burton v. United States, 668 F. Supp. 2d 86, 108 (D.D.C. 2009)

(“‘Proximate cause has been defined as that cause which, in natural and continual sequence,

unbroken by any efficient intervening cause, produces the injury’”) (citations and quotation marks

omitted); see also Palsgraf v. Long Island R. Co., 248 N.Y. 339, 340, 162 N.E. 99 (1928) (Cardoza,

J.). Clearly, Ambassador Stevens, and Messrs. Smith and Doherty were proximately harmed by

the defendant’s commission of the federal offenses for which he was convicted in this case. Cf.

Illinois v. Carron, 699 N.E.2d 241, 244 (Ill. App. Ct. 1998) (holding that acquittal of felony

homicide charges did not preclude finding that the defendant was the proximate cause of

automobile deaths for which the court permitted VIS).

       Indeed, but for the attack on the U.S. Mission, Ambassador Stevens and Sean Smith, would

not have been killed as a result of the fire intentionally set by armed militants – including by

members of the Defendant’s militia and several of whom maintained contact with the Defendant

during the attack while he was positioned just outside the Mission’s walls. Also, but for the attack

on the U.S. Mission, Glen Doherty, who traveled to Benghazi from Tripoli in response to the attack

at the Mission, would not even have been in Benghazi that night and would not have been atop a

building at the Annex, when it was attacked. But for the attack on the Mission, Glen Doherty

would not have been killed by the mortar attack on the Annex. Ambassador Stevens, Messrs.

Smith and Doherty were clearly directly and proximately harmed as a result of the Attack on the


                                                 2
           Case 1:14-cr-00141-CRC Document 607 Filed 09/25/24 Page 3 of 4




Mission.

          Glen Doherty responded to the attack on the Mission and heroically attempted to intervene

and stop that heinous act. His actions were, therefore, akin to those of other first responders who

have been deemed to be victims. See, e.g., United States v. Poole, 241 F. App’x 153, 154-55 (4th

Cir. 2007) (affirming district court’s admission of VIS from arresting police officers); United

States v. Passmore, No. 97-4781, 1998 WL 746866, at *1, *2 (4th Cir. Oct. 26, 1998) (per curiam)

(under U.S.S.G. analysis finding that defendant’s criminal conduct was the proximate cause of

responding officer’s accidental injury because harm to officer was a reasonably foreseeable result).

          “Traditionally, sentencing judges have considered a wide variety of factors in addition to

evidence bearing on guilt in determining what sentence to impose on a convicted defendant.”

Wisconsin v. Mitchell, 508 U.S. 476, 485 (1993).         Accordingly, even if the Court were to

determine that one or more of the family members was not technically a crime victim under the

CVRA, their family members should still be allowed to address the Court at sentencing. United

States v. Leach, 206 F. App’x 432, 434-35 (6th Cir. 2006) (holding that trial courts have

considerable discretion to permit individuals to introduce evidence relating to “the nature and

circumstances of the offense” without qualifying for victim status under CVRA); cf. United States

v. Duffy, 315 F. App’x 216, 218 (11th Cir. 2009) (permitting VIS relating to a burglary at

sentencing for a firearm conviction); Rock v. Virginia, 610 S.E.2d 314, 317-18 (Va. Ct. App. 2005)

(allowing decedent’s family members to provide VIS despite acquittal of murder charge).

          In sum, pursuant to the CVRA and traditional sentencing norms, members of Stevens,

Smith and Doherty families intend to exercise their rights to address the Court at sentencing in this

matter.


                                                  3
Case 1:14-cr-00141-CRC Document 607 Filed 09/25/24 Page 4 of 4




                            Respectfully submitted,

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